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EXHIBIT E

 

  

 

 

 

 

IN THE uNITE_o sTATEs merch _ ._ l N D E X
"°RT"E§:§$§§~TR§§;I§§¢§L"I"°I 2 ` Ess ExAMlNATloN
CHAR'-ES BOYLE- 3 MICHAEL KWIATKOWSK|
Piaintiff. ) -
-vs. ) N°_ 09 C 1030 4 By Mr. Kslazek 6
uNIvERsI-TY oF cHIcAGO J ` 5 By MS_ Gibbons 42
§§',;§§§,°§f‘§$'_‘_ L‘““" § 6 By Mr. Puiszis 44
Defendants- 7 BY MR. Ksiazek (further) 50
The depositi¢_>n of ntcHAEL KNIATKowsKI, 8
cal ied for exemi nat1on pursuant to the Ruies of
'Ci vi'| Procedure for the Um`ted States Di stri ct 9
Courts pertaining to the taking of depositions. 10
taken before ATHANASIA HOURGELAS, a notary
§¥§l§°o¥`§?i?n§?§ f§§ 535 §§.“-'?F."L§§a??§"si?§a "
Suite 300, Iiiinei's, on the 1oth day of ' 12 EXH l B l TS
November, 2009, at the hour of 10; 09 o'ciock 13 NUMBER MARKED FOR |D
a'"" 14 PLA|NT|FF'S Deposition Exhibit
1 5 No. 10 33
Reported by: Athanas'la llourgeles 16
L'I cense No. 084-004329
1 7
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3 .
1 AP_PEARANCES: 1 (Whereupon, the deposition
2 ED FOX & ASSOC!ATES. by 2 began at 10:09 o'clock a.m.)
3 MR. JONATHAN R. KS|AZEK, 3 (Witness swom.)
4 300 West Adams Street, Suite 330, 4 MR. KS|AZEK: Can you please state your name
5 Chicago, illinois 60606, 5 spelling your last name for the reoord.
6 (312) 345-887"7,l 6 THE WlTNESS: Michae| Kwiatkowski,
7 Representing the P|aintiif; 7 K-W-l-A-T-K-O-W-S-K-|.
8 _ 8 MR. KS|AZEK: Oflicer Kwiatkowsl_<i, is that
9 HINSHAW & CULBERTSON. by 9 how you say it; right? `
10 MR. sTEvE M. Pulsz`ls, 10 THE wlTNEss: Yes, sir.
11 222 North LaSa||e Street, Suite 300, 11 MR. KSlAZEK: Have you ever had your
12 Chicagol illinois 60601, 12 deposition taken before?
13 (312) 704-3000, 1 3 THE W|TNESS: No.
14 Representing the Defendant, 14 MR, KS|AZEK: So this is your first time
15 University of Chicago Po|ioe 15 having your deposition taken of you?
16 Oilicers; 16 THE W|TNESS: Yes.
17 1 7 MR. KSlAZEK: l'm going to give you some
18 ASS|STANT CORPORAT|ON COU NSEL, by 18 ground rulesl basically explain what we're doing
19 M_S. HELEN C. GIBBONS, 19 here and what‘s going to happen. First of a||, z
20 30 North LaSalie Street, Room 900, 20 |'m just going to ask you some questions, and
21 Chicago. illinois 60602, 21 ask that you answer them truthfully and to the 1
22 (312) 744-3982, 22 best of your knowledge. ls that okay? ‘ .
23 -Representing-the Defendant, 23 THE W|TNESS: Yes. j
24 City of Chicago.- 24 MR. KSIAZEK: And when you're answering 5
_ _ 4 n

 

1 (Pages 1 to 4)

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1 those questions,` | just ask that you answer them 1 A. Approximate|y six and a half years.
2 verba||y, so out loud with a yes or no or 2 Q. So you started in approximately 2002,
3 whatever answer you're going to give and there 3 middle of 2002?
4 might be times when you say uh~uh or uh-huh or 4 A. 2003.
5 you shake your head, and then we'll just remind 5 Q. Do you know when you'started in 2003?
6 youl to answer out |oud. ls that okay? 6 A. June of 2003.
7 THE W|TNESS: Yes. 7 Q. Have you worked for any other police
8 MR. KSIAZEK: Okay. And when_l'm asking my 8 departments prior to working for the University
9 questions, |'|| do my best to not try and talk 9 'of Chi¢ego Potice Department?
10 over when you're giving your answers and l just 10 A. No.
11 ask that you do the same for mejust so that we 1 1 Q. So your first job was with the
12 can have a clear record for the court reporter. 12 University of Chicago?
1 3 Okay? 1 3 A. Yes.
14 THE W|TNESS: Yes. 14 Q. What was your rank when you first
15 MR. KS|AZEK: And you understand that you 15 started in 2003 with the University of Chicago
16 are under oath today? 16 Po|ice Department?
17 THE WlTNESS: ¥es. 17 A. Patro|man.
18 MR. KS|AZEK: And is there anything 18 Q. And were you a patrolman on Ootober
19 preventing you from testifying truthfully today? 1 9 18th, 2008 with the University of Chicago?
20 THE W|TNESS: No. 20 A. Yes.
21 21 Q. When did you become a sergeant?
22 22 A. August of 2009
23 23 Q. Have you ever served' in the military?
24 24 A. No. _'
5 7 j
1 MICHAEL KW|ATKOWSKI, 1 Q. How tall are you, slr?
2 having been lirst duly sworn, was examined and 2 A. Approximate|y 6'. 1".
3 testified as follows: 3 Q. And how much do you weigh?
4 EXAM|NAT|ON 4 A. Between 275 and 280.
5 BY MR. KSIAZEK: 5 Q. How much did you weigh in October of
6 Q. Okay. What is your educational 6 2008?
7 background? 7 A. Approximate|y the same.
8 A. l achieved a bachelor's in criminal 8 Q. How old are you?
9 justice from Michigan State University. _ 9 A. 32.
10 Q. When did you obtain that bachelor's 10 Q. Were you assigned to a heaton October
1 1 degree? 1 1 18th of 2008?
12 A. 1999. _ 12 A. Ves.
13 Q. Upon graduating from Michigan State 13 O. What beat was that?
14 University. what jobs did you ho|d? 14 A. 152.
15 A. | was a supervisor for RPS Airbome 15 Q. What are`the boundaries of Beat 152 in
16 Express and a manager for USF Distribution. 16 October of 2008?
17 Q. UFS Distribution you said. sir? 17 A. There's not really a set boundary.
18 A. USF. 18 Q. Okay. So what is your assignment with
19 Q. And what` ls your current position? 19 Beat 152?
20 A. |'m a sergeant 20 A. Surveillance. At that time it was
21 Q. Where do you work? 21 surveillance.
22 A. Th_e University of Chicago Po|ice. 22 Q. Ho_w long was your assignment on Beat
23 Q. How long have you worked for University 23 152 surveillance?
24 of Chicago Po|ice Department? 24 A. From - can you explain the question,

 

2 (Pages 5 to 8)

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1 are you asking - 1 A. Patro| and maintaining safety and
2 Q. Sure. How long did you serve on Beat 2 security of the campus and faculty and staff
3 152? You said on October 2002 you were working 3 students of the Unive`rsity.
4 Beat 152? 4 Q. And did you have a focus more on this
5 A. Yeah. _ - ` 5 robbery pattem that you spoke of earlier or was
6 Q. How long were you working on Beat 152? 6 it just more general patrol?
7 A. The hours? 7 A. Our focus was the robbery but we were
8 Cl. The months, years? _8 also doing general patrol and maintaining campus
9 MR. PUISZ|S: How many days had you been 9 safety and security.
10 working? 10 Q. Were you working with a partner?
11 THE WIT_NESS: l`would say approximately six 11 A. No.
12 months. 12 Q. So --
13 BY MR. KS|AZEK: 13 MR. PU|SZ|S: Let him finish his question
14 Q. You had been working six months prior 14 before you answer.
1 5 to October of 2008? 1 5 BY MR. KS|AZEK:
16 A. Correct. 15 Q. And did you have your own squad car?
17 Q. And how many months did you work after 17 A. l had my own vehicle.
1 8 October of 2008? 1 8 Q. Was il a marked car or was it an
19 A. A|| the way until July of '09. 19 unmarked car?
20 Q. Now, when you say your assignment was 20 A. Unmarked.
21 surveillance, what do you mean by that? 21 Q. And what beat are you currently
22 A. Do you mean the capacity? 22 assigned to?
23 Q. What were you surveying? What were you 23 A. The beat number is 170.
24 investigating? 24 Q. What does Beat 170, what is that
9 11 '
1- _
1 A. Within the University area of authority 1 assignment?
2 at that time l believe l was worl<ing a robbery 2 A. Training.
3 patlem, so l was in areas where we would have 3 Q. So where do you- d-o you currently
4 incidents of robberies. 4 train all the new officers?
5 Q. Okay. Was there a` specific part of lite 5 A. We schedule training.
6 campus that you were investigating more than 6 Q. And what is your role in the training?
7 others? 7 A. And l provide training on various
8 A. At that time l believe it was between 8 subjects.
9 53rd to basically 63rd Street. 9 _Q. What subjects do you provide training
10 Q. Do you know what the boundaries were - 1 0 on?
11 you said 53rd and 63rd Street, were there 11 A. We do our annual lirearrns
12 another cross section boundaries where you were 12 - qualitication. '-
13 ' investigating streets? 13 Q. Anylhing eise?
14 A. Our campus - our area of authority we 14 A. Mobile data terminals and use.
15 go from Cottage Grove back east until Stony 15 Q. Anythi_ng else besides tirearms
16 island or the lake depending on the area you're 16 ` qualifications and mobile data terminals and
17 in, Stony island or Lake Shore depending on the 17 use?
18 mea. 18 A. Reponumhng
19 Q. So you were investigating 53rd Slreet 19 Q. Anything else besides these three
20 to 63rd Street from Cottage Grove to Stony 20 training class that you spoke of'?
21 island approximately? 21 A. Current|y, no.
22 A. | was working in those areas. 22 Q. Okay. 80 just to reoap`, you train
23 Q. Oka'y. And what were your day-to-day 23 ' ofticers in iirean'ns qualitications, mobile data
24 duties be in October of 2008? 10 24 terminals and use and how to write a report; is12

 
 

3 (Pages 9 to 12)

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1 that oorrect? 1 miles or blocks it is?

2 A. The report writing, correct 2 A. Approximately eight to nine blocks.

3 Q. And do you work out of the Chicago 3 Q. And what were you doing when you got

4 Po|ice Department - University of Chicago 4 this dispatch?

5 Po|ice Department headquarters? 5 A. Patro|.

6 A. No. 6 Q. So-you got this dispatch and you headed

7 Q. When you're not on patro|? 7 towards 53rd Street?

8 A. Correct. 8 A. Yes.

9 `Q. And what is your shift currenliy? 9 Ci. Do you remember what route'you took to
10 A. Days. 10 _ get to 53rd Street?

11 Q. Okay. So what are your hours during 11 A. l believe l went north on Blackstone.

12 the days'? 12 Q. And then you turned onto 53rd from

13 A. 06: 30 to 14:30 hours. 13 Blackstone?

14 Q. in October of 2008 when you were 14 A. l would have turned westbound onto

15 working Beat 152, what-were your hours then? 15 53rd. '

16 A. 21 :00 to 05:00. 16 Q. Okay. As you turned westbound onto

17 Q. Did you have the occasion to be at 1435 17 53rd Street, what did you see?

18 53rd Street on October 13th. 2008? 18 A. Could you be more specific with the

19 A. What was the address? 19 question?

20 Q. 1435 East 53rd Street? 20 Q. |'m just asking you as you're turning

21 A. | don't believe l was at that address. 21 onto 53rd Street, what, if anything, did you see

22 Q. Were you on - |et's put it this way, 22 on 53rd Street'?

23 did you'get a dispatch telling you that there- 23 A. l observed several University officers

24 was a 10-1 on 53rd Street on October18th, 2008? 24 that have responded to a call trying to place a
13 15

1 A. Yes. 1 subject into custody.

2 Q. Do you recall what the dispatch said 2 Q. .Okay. And at some point did you park

3 exact|y? - 3 your vehicle?

4 ' A. No, l do not recall the exact detai|s. 4 A. Yes.

5 Q. Where were you when you got this 5 Q. And where did you park your vehicle?

6 dispatch? 6 A. Approximately |.was - my vehicle was

7 A. Approximately 6001 and Drexel. 7 - itwas west of 53rd Street - it was west of

8 Q. Do you know what time you got this 8 Blackstone on 53rd Street.

9 dispatch? Do you know what time you got 9 Q. Do you know_how far you traveled down
10 dispatched? 10 53rd Street before you parked your vehicle?
11 A. Approximateiy 02: 30 to 02: 40 hours`. 11 A. | don't recall exact|y. lt could have
12 Q. And what did you do once you received 12 been approximately a quarter of a block. l
13 this dispatch? 13 don't recall exactly.

14 A. l started heading towards the location 14 Q. Okay. After you parked your vehic|e,
15 of the dispatch. 15 what did you do?

16 Q. How far did it take you to arrive at 16 A. l exited my vehicle.

17 53rd Street from 60th and Drexel? 17 Q. And as you exited your vehicle. what
18 A. Could you repeat that question? 18 did you see at that point?

19 Q. Sure. How |ong_did it take you to 19 A. Several officers trying to place the
20 arlive at 53rd Street from where you were at 20 subject into custody.

21 SOth and Drexe|? 21 Q. Can you describe how the oflicers -
22 A. Approximately one to two minutes. | 22 first of a||, how many oflicers were there? _
23 don't recall exact|y. 23 A. l would say approximately live at that
24 Q. Do you know how far away, how many 24 point. -

  
   
   
   
   
    
  
    
  
   
   
   
   
    
 
 

 
 

4 (Pages 13 to 16)

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1 Q. Do you know if they were all University 1 Mr. Boyle was doing while he was on the ground?
2 of Chicago officers or were there some Chicago 2 A. Yes.
3 Poiice Officers there? 3 Q. What was he doing?
4 A. They were all University of Chicago. 4 A. He was kicking and struggling. He was
5 Q. Did you recognize any of the officers 5 kind of wiggling his arms trying to break his
6 that were attempting to put the subject into 6 arms free.
7 custody? 7 Q. Okay. Where was Olticer Moore m
8 A. Yes. 8 relation to Mr. Boyle when Mr. Boyle was on the
9 Q. Who did you recognize? 9 ground?
10 A. Officer Galarzal Torres, Gillespie, 10 A. l do not reca||.
11 Oflicer Moore, and there - that's all l could 11 Q. And you said that Mr. Boyle was kicking
12 recall. There may have been a few more. That's 12 and struggling, do you know which ofiicer was
13 all | can recall. 13 trying to actually put the handcuffs on
14 Q. Okay. So how were Offioers Gaiarza, 14 Mr. Boyle'?
15 Torres, Gillespie and Moore attempting to place 15 A. l believe it was Oflicer Galarza, and l
16 the subject into custody? 16 went to assist
17 A. They were attempting to place him into 17 Q. When you said Mr. Boyle was kicking and
18 handcuffs. 18 struggling, was he kicking violently?
19 Q. Where was Officer Ga|arza in relation 19 MR. PU|SZ|S: Objection to the
20 to -the_ subject? 20 characterization | don't know what you mean by
21 A. W_hen l arrived, l believe Officer 21 violently. When a person can look at a
22 Ga|arza was by the subject's arms. 22 situation and say it’s violent, someone else
23 Q. And did you later learn that the 23 could say it was not so violent So subject to
24 subject at the scene that night was Charles 24 the objection, you can answer the question. '
17 19 -
_
1 Boyle? 1 BY MR. KS|AZEK:
2 A. ¥es. 2 Q. Was he kicking violently?
3 Q. Where was Of|‘icer Torres in relation to 3 A. l personally would characterize it as
4 Mr. Boy|e? 4 violent|y, yes.
5 A. | don't recall. 5 Q. And why is that?
6 Q. When you say Oflioer Ga|arza was by 6 A. The amount of force being exerted
7 Mr. Boyle's anns, was he on the left side or the 7 Q. Did you - you actually saw Mr. Boyle's
8 right side? 8 legs go up in the air?
9 A. When - l don't recall exactly when l 9 A. | believe so.
10 arrived on the scene what side. l believe he 10 Q. Do you know how high his legs went up
11 was more- yeah, | don't reca||. 11 in the air?
12 Q. Where was Officer Gillespie to 12 A. No.
13 Mr. Boyle? 13 Q. Was it - were both legs going up in
14 A. Oflicer Gillespie was by Mr. Boyle' s 14 the air?
15 legs. 15 A._ l don't reca||.
16 Q. Was Mr. Boyle standing at this point? 16 Q. You said you saw Mr. - l'm sorry,
17 A. No. 17 Officer Gillespie by Mr. Boyle's |egs, did you
18 Q. Where was Mr. Boy|e? 18 see Mr. Boyle actually kick Ofticer Gillespie?
19 A. Mr. Boyle was -facedown on the ground 19 A. No, _
20 Q. Was he laying on the ground with his 20 Q. Did you actuatly see Mr. Boyle kick in
21 belly on the ground or was his back on the 21 Ofiicer Gillespie's direction?
22 ground? 22_ A. Yes.
23` A. His stomach was on the ground. 23 Q. Do you know if Ofiicer Gillespie was
24 Q. And did you notice anything that 24 wearing his glasses when you saw him that night?

 

5 (Pages 17 to 20)

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1 _ A. Yes. 1 resisting.
2 Q. And when you arrived on the scene and 2 Q. How many times did you hear Oflioer
3 as you say Mr. Boyle was kicking in Oflicer 3 Galarza say that?
4 Gillespie's direction, when you saw this, was 4 A. l don't recall the exact amount of
5 Oflicer Gillespie wearing his glasses at that 5 times. _
6 point? 6 Q. But it was more than once?
7 A. l don‘t recall. l do know that after 7 A. Yes.
8 the completion of the ca||, we were looking for 8 Q. Did Mr. Boyle say anything in response?
9 Officer Gillespie' s glasses. 9 A. Not that l can recall.
10 Q. Do you know if he ever found his 10 Q. When your first arrived on the scene and
11 glasses? . 11 exited your vehicle. did you see any witnesses
12 A. l believe he did. l believe they were 12 at the scene?
13 in several pieces. 13 A. | believe there were some people on the
14 Cl. Did you ever see the glasses yourself? 14 street, but l don't know exactly who or how
15 A. No, ldon't recall. 15 many.
16 Q. Do you know who found Officer 16 Q. And do you know how many police cars
17 Gillespie's glasses? 17 were on the scene when you arrived?
18 A. No. 18 A. ldon't recall exactly. l know l was
19 Q. Okay. While - you said you moved over 19 the fourth or fifth assist unit to arrive. lee.
20 to Mr. Boyle to attempt_to place - assist in 20 l saidl my primary focus was on oflicer safety,
21 placing him in handcuffs; right? 21 so l wasn't really paying attention to how many
22 A. Yes. 22 squad cars were -
23 Q. So what happened as you went over to 23 Q. Sure. Did you see a silver Chrysler on
24 assist placing Mr. Boyle in handcuffs? 24 the scene that night?
_ 21 23
1 A. We stated to stop to - to Mr. Boyle to 1 A. Yes.
2 stop resisting arrest, and l helped maintain 2 Q. Where was that silver Chrysler |ocated?
3 control of Mr. Boyle's arms when the handcuffs 3 A. That would - it was on 53rd facing
4 were placed on him. 4 westbound.
5 Q. So did you actually- were you the 5 Q. Where did - where was Mr. Boyle laying
6 officer who actually put the handcuffs on 6 or - or how far away from the silver Chrysler
7 Mr. Boyle? 7 was Mr. Boyle laying on the _,ground if you can
8 A. No, 8 reca|l? .
9 Q. Do you know which officer actually 9 A. | don't recall.
10 ' physically placed the handcuffs on Mr. Boyle? 10 Q. Did you - how far away was Mr. Boyle
11 A. No, l do not recall. My focus was _ 11 laying from the closest University of Chicago
12 maintaining control of his arms so nobody - for 12 Polioe patrol car?
13 officer safety and nobody would get hit or 13 A. loouldn‘t recall. l don't recall.
14 struck. 14 Q. Do you know if it was a few feet or was
15 Q. By the way, when you first arrived on 15 it more than that?
16 the scene and you exited your vehicle, did_you 16 A, l couldn't _say. l couldn't give you an
17 hear any conversation between - did you hear 17 exact distance or recall.
18 Mr. Boyle say anything? 18 Q. Did you hear anyone - once you first
19 A. No, 19 got out of your vehicle. did you hear any of the
20 Q. And did you hear -- right after you 20 witnesses that you said that were on the scene?
21 exited your vehicle, did you hear any of the _ 21 A. No.
22 four University of Chicago officers say 22 Q. Did you_ hear - you didn't hear
23 anything? 23 anything from them?
24 A. Yes. l heard Oflicer Ga|arza say stop 24 A. No.

 

6 (9ages 21 to 24)

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1 Q. You didn't hear any conversations 1 several officers there. l know as | stated

2 between them? 2 earlier Gillespie was there, Ga|arza was there

3 A. No. 3 and Moore and Torres was there. l don't recail

4 Q. Did you notice if anyone was located 4 anybody's specific |ocation. l was focused

5 inside of the silver Chrysler? 5 maintaining control of the subjects arms.

6 A. No, l did not. 6 Q. Okay. Did you - at some point,

7 MR. PU|SZ|S: You didn't notice or you 7 though, Mr. Boyle stood up from the ground?

8 didn't know? _ 6 A. Yes.

9 THE W|TNESS: l didn't know - l don't 9 Q. And that was by one of the officers who
10 recall seeing anybody inside of it. 10 was there, either Moore or Torres or Ga|arza or
11 MR. PU|SZ|S: Okay. 11 Gillespie?

12 BY MR. KS|AZEK: 1 2 A. Yeah, l don't recall exactly who

13 Q. So after - how long approximately did 13 assisted him up from the ground.

14 it take fmm the point when you first arrived on 14 Q. Did Mr. Boyle say anything when he was

15 the scene and exited your vehicle to when 15 - once he stood up from the ground?

16 Mr. Boyle was in handcuffs? 16 A. Not that | can recail.

17 A. A few minutes Approximate|y a few 17 Q. Did you hear any of the cfiicers say

18 minutes. 18 anything when Mr. Boyle stood up from the

19 Q. Do you know - well, did you see any of 19 ground?

20 the four officers that you named, Officer 20 A. Not that l can recall.

21 Galarza, Moore, Torres and Gillespiel did you 21 Q. So what happened if you can recall once

22 see any of them strike Mr. Boyle? 22 Mr. Boyle was stood up?

23 A. No. 23 A. l was not on the scene for -~ after he

24 Q. Did you see Mr. Boyle strike any of 5 24 was placed into custody, l wasn't on the scene _
2 27

_

1 them? 1 for much |onger. | know the Chicago Polioe

2 A. No. 2 Department did arrive on the scene, and l

3 Q. You just saw them attempting to put him 3 believe the - he was - |'m not sure exactfy if

4 into handcuffs, the four officers? 4 he was turned over to them or what happened

5 A. Correct. 5 next. '

6 Q. What happened after Mr.- Boyle was 6 Q. When did you first see the Chicago

7 placed into handcuffs? 7 Po|ice Officers at the scene?

8 A. l don't recall. Could you be more 8 A. Shortly after the subject was in

9 specific with your question? 9 custody.

10 Q. Wel|, you said he was on the ground, 10 ` Q. Was that when Mr. Boyle was still on
11 did someone pult him up from the ground, 11 the_ground or was that when he stood up?

12 Mr. Boyle? ` 12 A. l do not recall. l don't recall

13 A. Yes, l believe he was - l don't know 13 exact|y. _

14 if he was put into a squad car. |'m not sure 14 Q. But you do remember Mr. Boyle being
15 exactly what happened aftenivards. 15 ' given over to the Chicago Po|ice Department?
16 Q. You were - when Mr. Boyle was actually 16 A. |'m not sure exactly who transported
17 placed into handcuffsl were you standing over 17 Mr. Boyle in. l wasn't there for that part of

18 him? 18 the call so l don't want to go further into that
19 A. l believe l was on his - more toward 19 because l don't -

20 his right side. 20 Q. What did you do once Mr. Boyle was
21 Q. And do you know what, if any, 21 stood up and given over to either the Chicago
22 University of Chicago officers were located 22 Po|ice Department officers or some other

23 around you on Mr. Boyle's right sidé? 23 officers?

24 A. l don't recall. l knew there were 24 A. l cleared the scene of the call and

28

 

7 (Pages 25 to 28)

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1 went back on patro|. 1 A. No, l don't recall.
2 Q. Do you know when you actually cleared 2 Q. Do you know if that was the same day or
3 the scene? 3 you just don't recal|?
4 A. No. 4 A. l believe it was after the incident
5 Q. Was it before or was it after Mr. Boyle 5 Probabty the days following t couldn't give
6 was taken away from the scene? 6 you specifics.
7 A. l believe it was before. 7 Q. What did they say to you when you asked
8 Q. Did you have any conversations when 8 them if they were okay?
9 Mr. Boyle was taken into custody with Officer 9 A. l don't recall the specifics of the
10 Moore at that point? 10 - conversation.
11 A. Nol not that l can recall. 11 Q. Have you had any other involvement with
12 Q._ Did you have any conversations with 12 this case outside of what you've spoken about
13 Officer Torres once Mr. Boyle was taken into 13 today?
14 custody? 14 A. There was one court appearance
15 A. Not that l can recall. 15 Q. Do you recall when you appeared‘ 1n
16 Q. Did you have any conversations with 16 court?
17 Oflicer Ga|arza? 1 7 A. l believe it was in January of '09.
18 A. Not that l can recall. 18 Q. And why were you in court in January of
19 Q. And did you have any with Officer 19 2009?
20 Gillespie? 20 A. l was subpoenaed for this case.
21 A. No. l -- l may have spoken to him 21 Q. Did you end up testifying?
22 regarding his glasses because after the call we 22 A. No, l did not.
23 were looking for his glasses but that was the 23 Q. Did you ever - on October 1Sth, 2008.
24 extent if there was any conversation, 24 did you ever tell dispatch that you were on the
- 29 31
1 Q. Do you recall what you said to Officer 1 scene?
2 Gillespie or what he said to you? 2 A. ¥es, l believe l did. l may have let
3 A. No. 3 dispatch know that l was, with the radio, on the
4 o. New, during this altercation when you 4 ecene. '
5 saw Mr. Boyle on the ground and were attempting 5 Q. Did you ever tell dispatch everybody
6 to assist piacing him into handcuffs, at any 6 take a stow down?
7 point did you strike Mr. Boyie? ' 7 A. l don't recall.
8 A. No. 8 -Q. Do you recall what you did tell
9 o. Did Mr. scer strike you? s dispatch that night?
10 - A. No. 10 A. No.
1`1 Q. Did you have any conversations with any 1 1 Q. When did you learn that the suspect on
_ 12 Chicago Polioe Ofiicers who were at the scene 12 the scene was Charles Boyle?
13 that night'? 13 A. l don't recall exact|y.
-14 A. No. 14 Q. Did you1 fill out any papenivork rn
'15 Q. Did you ever talk to any of the four 15 conjunction with this case'?
16 University of Chicago Po|ice Officers that we 16 A. No.
17 have spoken of, Torres, Moore, Gi|tespie or 17 Q. You didn't fill out a police report?
18 Gaiarza about what happened that morning since 18 A. No, l did not.
19 October 18th. 2008? 19 Q. And you didn't till out an injury
20 A. Not specifically l may have asked 20 report?
21 them if they were okay, but l don't recall any 21 A. No.
22 _speciiic. 22 Q. Did you fill out a court report for
23 Q. Do you know when you asked them if they 23 your appearance on January 20th, 2009?
24 were okay? - 3 24 A. l do not believe | filed a court
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8 (Pages 29 to 32)

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report.

MR. KS|AZEK: l will mark this as Exhibit
No. 10.

(Whereupon, PLAINT|FF'S
Deposition Exhibit No. 10 was `
marked for ident’rlication.)

BY MR. KS|AZEK:

Q. What l‘ve handed you and what’s been
marked as Plaintiff's Exhibit 10. these_are your
Answers to lnterrogatories that you prepared
with your counsel.

Do you recognize this document?

A. Yes.

Q. You've read through this document?

A. Yes.

Q. By the way, what documents did you read
through in preparation for your deposition
todajf?

A. This is the only document, the
interrogatory

Q. Okay. And if you look on _the last
page. which has been marked at the bottom as
Page 10, that's your signature on the last page?

A. Yes.
33

Q. If you look on Page 3, under answer -
there's an answer to question two, which is on
the previous page, which is Page 2, please
identify all persons including but not limited
to police oflicers who witnessed or have
knowledge of the incident alleged in the
plaintiffs complaint And if you turn back to
Page 3, in the second paragraph, which is in the
middle of the page -

A. Uh-huh.

Q. - in the last sentence says Officer
Gera|d Johnson and Lieutenant White were on the
scene at some point?

A. Yes. '

Q. Did you ever see Officer Johnson or
Lieutenant White on the scene that night?

A. \'es. '

Q. When did you see them on the scene?

A. l don't recall the exact point.

Q. Were they at the scene when you
arrived, when you first arrived?

A. No.

Q. And do you know if you saw them after
Mr. Boyle was placed into custody?

 

 

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Chicago, Illinois

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LWN-\C)UU“NIO'}U\LWN-*Q

     

A. Yes.

Q. lf you took above in the first
paragraph, the second to last sentence in the
answer it says, Officer Moore injured his left
wrist and Officer Galarza injured his shoulder
in the process.

Do you know how Officer Moore injured
his left wrist?

A. No, l do not. l don't know the
specifics

Q. Do you know how Officer Galarza injured

his shoulder?

A. No.

Q. And in the next sentence it states,
Officer Gillespie was kicked in the head by the
plaintiff breaking his glasses.

And you stated previously you didn't
see Officer Gillespie get kicked in the head?

A. He stated that he was - that's why we
were looking for his_g|asses.

Q. Sure. But you never saw Officer
Gillespie get kicked in the head; right?

A. No, l didn't actually see that No.

Q. Did you have any conversations with

Officer Moore or Officer Torres about them
hearing a horn on October 18thl 2008 in relation
to the Chrysler?

A. No. Not other than after the report,
after the incident.

Q. Okay. Did you read the police report
after the incident?

A. \'eah, l believe l did review it for -
| saw a copy of it before we went to court.

Q. Was that the only time that you read
the potice report?

A. That l can recall.

Q. So was that the first time that you

|eamed about the suspicious vehicle on October

1Bth, 2008?
A. l don't recall exactly what the
original dispatch was.
Q. We|t, you said the dispatch was a 10-1?
A. No. But what |'m saying ifthere was
radio traffic leading up to that polnt. l don't
recall. l was responding to the 10-1.
Q. Well, when you arrived at the scene on

October18th. 2008. did you - what did you know

about what was taking place?

 

9 (Pages 33 to

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1 A. Other than the fact that the 10-1 went 1 sentence in answer to question 9.
2 out, that's what l was responding to. That's 2 What plain clothes were you wearing on
3 all l can recall at this point. l was 3 that night?
4 responding to the 10-1. 4 A. l don't recall exactly what l was
5 Q. `Did you know anything about a 5 wearing.
6 suspicious vehicle when you arrived on the 6 Q. But you weren't wearing your unifonn?
7 scene? 7 A. Correct.
8 A. l don't recall. 8 Q. Did you have_any identification on you
9 Q. Did you know if there was a suspect 9 like a badge or a -
10 that was resisan arrest when you arrived on 10 A. Yes. l had - l wore a badge holder.
11 the scene? 11` Q. And were you wearing that around your
12 A. No. l was responding to the ca||, the 12 neck?
13 10-1. S_o | was responding to the officers 13 A. Yes.
14 request for assistance and that - 14 Q. Have you ever been disciplined during
15 Q. So is your testimony that the dispatch 15 your employment at the University of Chicago
16 didn't say anything about a suspicious vehicle? 16 Po|ice Department?
17 A., l don't recall exactly what was said 17 A. No.
18 over dispatch. 18 Q. Have you ever been written up while
19 Q. Okay. lf you look on Page 6, and this 19 working for the University of Chicago Po|ice
20 answer asks - l'm sorry, this question asks for 20 Department?
21 your understanding of the policies and customs 21 MR. PU|SZ|S: Objection. What do you mean
22 that govern writing of any log report when an 22 by written up?
23 individual is arrested and when the custody is 23 BY MR. KS|AZEK:
24 transferred to the City of Chicago Po|ice _ 24 Q. l mean. have you ever been - |'m not
- 37 _ 39 _
1 Department 1 sure if there's anything - if there's a
2 As a University of Chicago officer, you 2 difference between write up or discipline, but
3 can't arrest anyone;- right? 3 have you ever been written up for any reason?
4 A. Correct. 4 A. l have not been disciplined.
5 Q. ' Okay. So basically what University of 5 Q. Okay. Have you ever been - have you
6 Chicago officers do is you will detain a 6 ever had any investigations or any complaints
7 suspect; right? 7 against you?
8 A. Correct. 8 A. l was subject of an investigation.
9 Q. Then you will wait for the Chicago 9 Q. What was - when did this investigation
10 Po|ice Officers to arrive? 10 take place? -
11 A. Yes. 11 MR. PU|SZ|S: Let me object because it's
12 Q. And the Chicago police officer will 12 irrelevant but'you can go ahead and answer the
13 actually arrest? - 13 question.
14 A.- Yes. they do the arrest report. 14 THE WlTNESS: l believe it was in July of
15 Q. And the University of Chicago officers 15 2008.
1 6 they also write their own reports; right? 16 BY MR. KS|AZEK:
17 A. ¥es, they do an in~house report. 17 Q. And what happened to cause this
18 Q. And they also patml, the University of 18 investigation to take place?
19 Chicago officers also patrol certain areas? _19 A. The University officers responded to a
20 A. Yesl in our designated areas of patrol. 20 call along with Chicago Poiioe, and in the
21 Q. So if you look on Page 7 of this 21 Chicago Po|ice report it stated that OC spray
22 document, under question 9, i_t states l was 22 was used by a University of Chicago police
23 working an investigation in plain clothes on 23 ofticer.
24 behalf of the University. That's the second 24 So the responding University of Chicago

 

 

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1 Po|ice Officers had an investigation opened on 1 one of the attorneys representing the City of
2 them by the-_ Department to verify that this was 2 Chicago Po|ice Officers.
3 not the case. We do not carry OC-spray. |t's 3 ljust want to step back to the
4 not issued to us, and we're not authorized to 4 incident to understand who you saw there and
5 use it. So it was unfounded 5 when you noticed CP on the scene.
6 Q. Just what is OC spray? 6 So you said that you noticed the
7 A. O|eoresin Capsicum. |t's similar to a 7 Chicago Po|ice Officers after the subject was in
8 pepper spray. We are not authorized to carry or 8 custody? _
9 deploy it. _ 9 A. Yes. after the cuffs had been placed on
_10 Q. And you were working - in Ju|y of 10 him.
11 2008, you were working on this surveillance 11 Q. Okay. But you didn't recall if
12 unit? 12 Mr. Boyle was still on the ground or if he was
13 A. Yes. 13 standing up?
14 Q. _That was Unit 152; right? 14 A. Correct.
15 A. Yes. 15 Q. Do you recall about how many Chicago
16 Q. Have you ever been sued in your 16 Poiice Officers were on the scene?
17 capacity as University of Chicago police officer 17 A. l don't recall exactly. l know it was
18 before? 18 -- there was at least one patrol unit, and l
19 A. No. 19 believe a sergeant responded. ldon't have the
20 Q. Outside of this lawsuit, obviously 20 specific beats or names.
21 outside of this lawsuit. 21 Q. Okay. That was going to be my next
22 Did you have a computer in your vehicle 22 question. You don't know any of the CP officers
23 on October- 18th 2008? 23 or the sergeant?
24 A. No. 2_4 A. ldon't recall. :
_ 41 435
_ '
1 Q. 80 when you wouid get some information 1 Cl. Do-you.recall - or do you know or have
2 _ - or when you would request information about a 2 you come to know any of their names?
3 potential suspect, you would have to-relay 3 A. l believe it was -- yeah, l can't - l
4 information to dispatch; right? 4 can't recall.
5 A. ¥es. 5 Q. Now. after Mr. Boyle was in custody,
6 Q. And dispatch would tell you, for 6 did he - when the handcuffs were on himl did he
7 . instance, if you had a license plate number, 7 continue to struggle and tight against the
8 they would tell you who the owner of the car 8 University of Chicago Potice Officers'?
9 was? ` 9 -A. Yes. After the handcuffs were placed
10 A. Yes. 10 on him, | believe he was still struggling.
` 11l Q. ls there anything else that you wish to 11 Q. Dc you recall for about how |ong?
12 state or can_think of in reiatlon 'to this 12 A. No. l do not.
13 incident on October 18th, 2008? -13 Q. And do you recall ifthe Chicago Po|ice
14 A. No. 14 Officers were on the scene when Mr. Boyle was
15 Q. Are there any other conversations that 15 still struggling?
16 you had on October 18th, 2008 that we haven‘t 16 A. l don't recall.
17 spoken about today with anyone? 17 Q. And do.you recall who walked Mr. Boyie
18` A. Not that l can recall. 18 - you know what, |'m sorry you already
19 MR. KS|AZEK: . l don't have any further 1 9 testified to th_at.
20 ' questions. 20 MS. G|BBONS: Those are all the questions l
21 . MS. G|BBONS: l just have a few questions. 21 have.
22- EXAMINATION 22 EXAM|NAT|ON
23 -BY MS. GlBBONS: 23 BY MR. PU|SZ|S:
Q. Hi, Officer. |'m Helen Gibbons. |'m 24 Q. The investigation that you talked

 

11 (Pages 41 to 44)

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1 about, that was - was there a citizen who filed 1 its station in October of 2008 have a lockup
2 a complaint against you? 2 facility?`
3 A. No, it was not a citizen complaint lt 3 A. No.
4 was internal generated by our fortner deputy 4 Q. Did it have any capacity to inventory
5 chief. 5 property or anything like that?
6 Q. And that was to simply investigate 6 A. No.
7 whether you or any other University of Chicago 7 Q. Are you allowed now or then to make
8 officer who responded to this particular 8 traffic offenses or arrests for traffic
9 incident had or used pepper spray? 9 offenses?
10 A. ¥es. 10 A. No.
11 Q. And what was the result of that 11 Q. Now or then are you allowed to take
12 investigation? 12 someone into custody back to the University of
13 A. lt was unfounded. 13 Chicago station?
14 Q. So neither you nor any other University 14 A. No.
15 of Chicago officer carried pepper spray or used 15 Q. |f you see someone commit a crime, what
16 pepper spray in connection with that incident; 16 are you permitted to do?
17 correct? 17 A. To place them into custody and detain
18 A. Correct. 18 them for - notify Chicago Po|ice Department and
19 Q. Now, you mentioned University of 19 turn them over to the City of Chicago Po|ice.
20 Chicago is not permitted to use OC or pepper 20 Q. And then who prepares the police
21 spray? 21 reports and go to court, and who fills out the
22 A. Right. 22 criminal complaints?
23 Q. Does the University_of Chicago allow 23 A. The Chicago Po|ice Department
24 its officers to carry the big long cal 24 O. Does the University of_Chicago officers ‘
. 45 47
1 flashlights? 1 have any authority to do that?
2 A. No. _ 2 A. No.
3 Q. Did you see anyone from the University 3 Q. Wou|d `it be fair to say that you have
4 of Chicago carrying any big cal flashlights that 4 not been provided full police powers as a
5 night? 5 University of Chicago officer?
6 A. No. . 6 MR. KS|AZEK: Objection, calls for a legal
7 Q. Are you permitted to carry any type of _ 7 conctusion. You can answer.
8 flashlight? 8 MR. PU|SZ|S: Go ahead.
9 A. ¥es, the - 9 THE WlTNESS: Correct. Yes.
10 - Q. Can you describe the type of flashlight 10 BY MR. PU|SZ|S:
1 1 you're allowed to carry? 1 1 Q. The areas that you patrol, are they
12 A. Yes, the small - they refer to it as 12 also patrolled by the City of Chicago poiice?
13 the stinger style flashlights, the pofi - the 13 A. Ves.
14 plastic. 14 Q. Are there any areas that you patrol
15 Q. How big are they? 15 that the City of Chicago does not patrol? _
16 A. They‘re approximately eight - l 16 A. No.
17 believe about eight inches in iength. 17 Q. Have you been delegated an exclusive
18 Q. So maybe the size of two tists? 18 public function to patrol any areas of the
19 A. Yes, approximately 19 University of Chicago campus or any part of the
20 Q. Not the 16 or 20 inch ffash|ights that 20 City of Chicago that the Chicago Po|ice are not
21 you might see that you can purchase in a 21 authorized to patrol?
22 commercial establishment? 22 _A;_ No._
23 A. Correct.- - 23 Ct. Have you been deiegated any exclusive
24 24 pubiic authority to do anything that the City of

     

Q. Now, does the University of Chicago at

 

  

 

   
  
  
     
  
   
   
  
   
   
 
   
   
    

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12 (Pages 45 to 48)

 

 

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1 Chicago police officers are not permitted to do? 1 |N THE UNfTED STATES DlSTRlCT CO'URT
2 A. No. ' 2 NORTHERN DlSTRlCT OF lLL|NOlS
3 Q. And there are certain things you cannot 3 EASTERN D|V|SION
4 do; is that correct? 4 CHARLES BOYLE, )
5 A. coneu. 5 Pb"mf. )
6 Q. Do you recail if the vehicle - the 5 'VS' ) NO- 09 C 1030
7 silver Chrysler that you were talking about 7 UN'VERS|TY OF CH'CAGO )
8 earlier `rf it was facing eastbound or westbound 8 POL'CE OFF'CER LARR¥ )
9 or-do you recall one way or the other? - 13 TORRE§"%;:;'SMS ) }
10 A. l believe there were - there were two ‘ _
11 silver Chryslers, the subject's vehicle and l 11 |’ M!CHAEL KW|ATKOWSK|' be'ng nrs_’t duly
12 believe that night l may have been driving'a 12 Sw°m' (.m oath S.a!y that l am the deponent m the
13 silver vehicle also. So the subject Boyle's 13 aforesa'd depos'¥'on taken on the mm day of
14 vehicle was facing eastbound and my vehicle was 14 November' 2009’ that l have read the foregoan
. - 15 transcript of my deposition, consisting of pages
15' fac'ng westbound _ _ 16 6 through 50 inclusive, and affix my signature
16 Q. Was Mr. Boyle allowing himseffto be 17 to same_
17 handcuffed? 1 8
18 A- N°- _ MchAEL leATkowskl
19 Q. ls it lawful to resist any arrest 19
20 Whats°e"e"? 20 Subscribed and sworn to
21 A- NO- ' 21 before me this day
22 Q. And is it proper to put someone in 22 of 2010_
23 handcuffs to protect an officers safety? 23
24 A. Yes. 24 Notary Public j
49 51 _
1 MR. PU|SZfS: | don't have anything else. 1 STATE OF iLLlNOlS )
2 FURTHER EXAM|NATION_ 2 ) SS:
3 BY MR. KS|AZEK: 3 COUNTY OF C O 0 K )
4 Q. Okay. Just where was your vehicle 4 l. ATHANAS|A MOURGELAS, a notary public
5 parked in relation to you said the subject's 5 within and for the County of Cook County and
6 vehic|e, the silver Chrysler? 6 State of fllinois, do hereby certify that
7 A. | don't recall the exact orientation 7 heretofore, to-wit, on the 10th day of November
6 where they were. l know my vehicle was facing 8 2009, personally appeared before me. at 222
9 westbound . ' 9 warth Lesalle street suite 300, _chieege,
10 Q. Do you know how far apart from the 10 tliinois, MlCHAEL KWIATKOWSK!, in _a cause now
1 1 silver Chrysler your vehicle was parked? 1 1 pending and undetermined in the Circuit Court of
12 A. No, | do not recat|. 12 Cook County, illinois, wherein CHARLES BOYLE, is
13 - MR. KS|AZEK: Nothing further. 13 the Plaintiff, and UN|VERS|TY OF CHfCAGO POL|CE
14 MR. PU|SZ!S: No further questions 14 OFFICER. et al., are the Defendants.
15 Ms. telecost l have nothing further. 15 l further eenify marine said MchAEL
16 MR. KS|AZEK: We'l| reserve. 16 KW|ATKOWSKI was first duly sworn to testify the
17 (Whereupon, the deposition 17 truth. the whole truth and nothing but the truth
1 8 concluded at 11:16 o'clock 18 in the cause aforesaid; that the testimony then
19 a.m.) 19 given by said witness was reported
20 20 stenographicai|y by me i_n the presence of the
21 (FURTHER DEPONENT SA|TH NAUGHT.) 21 said witness. and afterwards reduced to
22 . 22 typewritan by Comput_er-Aided Transcription, and
23 23 the foregoing is a true and correct transcript
24 l24 of the testimony so given by said witness as
50

 

13 (Pages 49 te 52)

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1 aforesaid.
2 l further certify that the signature to
3 the foregoing deposition was reserved by counsel
4 _for the respective parties.
5 l further certify that the taking of this _
6 deposition was pursuant to notice and that there
7 were present at the deposition the attorneys
8 hereinbefore mentioned.
9 l further certify that l am not counsel
10 _for nor in any way related to the parties to
1 1 this suit. nor am | in any way interested in the
1 2 outcome thereof.
13 IN TEST|MONY WHEREOF: l have hereunto
14 set my hand and affixed my notarial seal this
1 5 6th day of January, 2010.
1 6
1 7
1 8
1 9 ..
20 4..
21 NoTARY Puech, coo_ t TY, iLLtNoiS`
22 L|C. NO. 84-4329
23
24
53
1 Moconrie court neportere, inr-h
201) N. Leseiie street suite son
2 ctrioegd itiineie scent-1014
3
4 January Sth, 2010
Mr. Steve M. Pu|sds
5 Hlnshaw dr Culh`ertson
222 rior-in Leseiie street
s
lN R.=_: Boyle v. university of chicagol et et
r count uunteER: ns c 1030
DATE TAKEN: Ner.ember to. zone
s oEPoNEN‘r: uieheei K\rrieure~su
9 peer Mr. Pule.zie: '
10 Enolosed is the deposition transcdpt for the
' aforementioned deponent in the above-entitled
11 cause. Also endosed are additional signature
pages. if applicable and errata sheets.
12
Per your agreement to secure sigr\ati.rrel please
13 errhmituretrereenpttotirenepenentrorreview
and slgnature. Nl changes or corrections must
14 bemadeonthearra\asheels.notmthe
uarreor-iptreeir. Nrerretesrreeteeheuidbe
15 slgnedandallsignao.irepagesneedtobesigned
end notarized
ts
Alter the deponent has completed the above.
17 please return all signature pages and enala
sheetsterneattheaboveaddress.andlwill
18 handle distribution to the respective parties.
1`9 lfyouhaveanyquesiions,pleasacellmeattl'ie
phone number below.
20
21 Sincereiy,
Margaret Setina Athanasia Mourgelas
22 Sig'lature Department CourtRepcrter
(312) zee-0052
23 cc: Ml:. Ksiaeiek, Ms. Gibbons.
24

  

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION

CHAR_LES BOYLE, )
Plaintiff, )

v. )

' ) No. 09 C 1030

UNIVERSITY OF CHICAGO POLICE ).
OFFICER LARRY TORRES, er al., )
' )
;Defcndants_...._ _ )

DEFENDANT KWIATKOWS_KPS hNSWERS TO PLAINTIFF’S INTERROGATORIES
' oefendam, UNIVERSrrY oF cHICAGO POLICE` OFFICER KWIATI<:OWSKI

(“KWiatkowslci”), by and through his attomcys, Hinshaw & Cu_lbertson LLP, and for his answers

to Plaintifl"s hitcrrogatories, states as follows:

PRELIMINARY S'I`A'I`EMIEN'I`

l_)efendant’s responses to plaintiffs interrogatories are made solely for the purpose of this
litigation ' Any response made and any information provided by the defendant through these
answers arc subject to objections las to the competency, relevancy, materiality, propriety, or
admissibility of the information sought in plaintist interrogatories and dcfendant’s responses
thc=£cto. Any information provided through any answer or tesponse is timber subject to any and
all other objections that would require the exclusion of any information provided herein if that
information is sought to be elicited at any further proceeding including »thc trial of plaintiffs
claiins, and!or if the information identified herein is asked of or disclosed by a witness testifying
at any further proceeding All of the aforementioned objections are hereby expressly reserved
and may be interposed at a later date.

Plny answers or responses herein are based on present loiowledge, information and bclief,
and are made without prejudice to the objections set forth hercin. Dcfendant specifically

reserves the lright to amend and/or supplement his responses at any time to introduce information

64595'.~'6v139'l'854 4236 [ 0

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not identified herein if it should it become known at any time through further investigation, and
defendant obtains additional or different information from that provided herein. Defendant
expressly reserves the right to revise, correct, add to or clarify any answer, response and/or
objections set forth below. Defendant timber specifically reserves the right to rely upon such
facts or documents and persons having knowledge of such facts or documents, as may be derived
through future discovery or through his continuing investigation in this matter, or as may be
adduced at trial. - y
Any answer or response set forth below is based on information presently available to
_ ndefendant, and except for explicit facts expressly set forth herein, no incidental or implied
' admissions are intended thereby. The fact that defendant has answered, responded or objected to
_ any paragraph of plaintiffs interrogatories or any part thereof, is not intended to be and should
_n_ot be construed to be an admission by the defendant that he accepts or admits the existence of
any facts set forth or assumed by said discovery requests, nor should it be construed as a waiver
by the defendant of all or any part of objection to any request for production made by plaintiff
The fact that defendant has answered, responded to, or objected to any paragraph of plaintiff s
interrogatories should not be taken as an admission that such answer, response or objection
constitutes admissible evidence.
ANSW.ERS TO INTERROGATORIES

l. Please identify (including title) all persons who assisted in the responses to these
interrogatories

ANSWER: Michael Kwiatkowski. My attorney, Steven Puiszis, consulted with me in

preparing these answers.

2. Please identify all persons, including but not limited to police officers, who
witnessed or have knowledge of the incident alleged in the Plaintiff’s Complaint.

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ANSWER: Objection, the defendant objects to lnterrogatory No. 2 because it is vague
and ambiguous it that it refers to “the incident alleged in plaintiffs -Complaint.” Plaintit`fs
claims include allegations concerning his arrest and the purported use of force against him as
well as a state law claim of malicious prosecution Therefore, the term “incident” as used in
Interrogatory No. 2 is -`vague and ambiguous Subject to that objection and without waiving
same, Officer Clarence Moore and Larry Torres were the original two officers from the
University of Chicago on the scene Aiter the University of Chicago dispatcher called for a 10-1,
or officers in need of assistance, other University of Chicago officers responded to the scene
including Oscar Galarza, Michael Kwiatkowski, and Arthur Gillespie. Galarza, K_wiatkowski
land Gillespie assisted Torres and Moore at some`point in getting the plaintiff to the ground and
then handcuffing him. -`Ofticer Moore injured his left wrist and Officer Galarza injured his
shoulder in the process. Officer Gillespie was kicked in the head by the plaintiff, breaking his -

n glasses.

Other officers from the University of Chicago also responded and would have seen the
plaintiff either on the ground or in handcuHs or being escorted to a City of Chicago squad car for
transportation Officer Gerald Johnson and a Lieutenant White from the University of Chicago
Police Department were on the scene at some point.

Officers from the City of Chicago would have also responded to the scene in connection
with a call for assistance and would have transported Charles Boyle to the local police station for
processing and would have prepared his paperwork They would have included Officers Darling
and Martin. Other offices from the City of Chicago may also have responded as well, I don’t
know their names. I believe there were other individuals who were at the scene who may or may
not have witnessed some or all of what transpired, including an Ashley Glover, Kenneth

Roberson and Steven Sinc]air. The defendant’s investigation continues

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3. Please identify all persons, including but not limited to police officers, who are
believed by defendant to have knowledge supporting Defendant’s denials of Plaintiffs
allegations Brietly summarize what knowledge Defenda.nt believes each person may possess.

ANSWER: Objection, defendant objects to this interrogatory on the grounds that it
seeks attorney work-product and is vague and ambiguous in that it seeks parties to identify
anyone believed .“to have knowledge supporting the defendant” and also asks for a summary of
“what knowledge" this defendant “believes'-each person may possess.” That information is more
proper the subjec:t of a deposition and to require the provision of such a summary is overbroad, l-
harassing ahd unduly burdensome. Subj-ec_t to those objections and without waiving same, see '.
those individuals listed in Interrogatory No. 2 and defendants who were identified in t_he
University of Chicago defendants’ Rule-'26 Disclosures. The University of Chicago officers
would have knowledge of their activities at the scene of the occurrence and subsequent thereto._

4. Identify all police officers who were present at or near 1435 East 53rd Street,.

Chicago, Illinois'60615 at the time of the incident alleged in the'coiriplaint, and for each such
officer indicate the following: '

a. Why he!she was at that location;

b. Whether he/she had any physical contact with Plaintiff;
c. Whether hefshe participated in the arrest of Plaintiff;

d. Whether hefshe participated in the search of Plaintiff;

e. Whether -hefshe had any participation in the bringing of criminal
' charges against Plaintiff. _ _ _ .

ANSWER: Objection. Defeiidant objects to this lnterrogatory as being vague and
ambiguous in that it refers to the incident.alleged in the Complaint and plaintist claims against
tlie defendant include assertions relating to his arrest and to the purported use of force against
him as well as a state law claim of malicious prosecution Subparagraph (e) is vague and

ambiguous in that you fail to define what you mean by “any participation in the brining of the

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criminal charges.” Subject to those objects and without waiving same, see my answer to
lnterrogatory No. 2.

Officers Moore and Torres had just stepped out of a Dunkin Donuts after getting coffee
when they observed a vehicle drive past them with its horn continuously blowing and then
observed lthe vehicle abruptly swerve to the curb and bump it. They initially investigated what
was happening The other officers from the University of Chicago responded to a dispatch
indicating:lhat Officers Moore and '-_l`_orres needed assistance The University of Chicago officers ------
li/loore and Torres initially attempted to handcuff the plaintiff who refused to allow himself to be
handcuffed and the other officers including Aguilar, Kwiatkowski and Gillespie assisted in
attempting to get the plaintiff onto`the ground and handcuffed

Officers Moore and Torres would have explained what happened at the scene;of the
incident to City of Chicago officers who would then prepare the arrest paperwork and any
Complaints would have been signed by either Officer Moore or Officer Torres. l

5. If there were any investigations, including, but not limited to, an internal affairs,

or O.P.S., investigation, relating to the incident alleged in Plaintiffs’ Complaint, please state who
conducted and!or took part in it, and state and describe its findings

ANSWER: I do not personally know of any such investigation However, my
attorneys are aware that the plaintifl`, using an alias, Charles Boyle made a complaint apparently
under the name Charles D‘Angelo.

Sergeant l§evin Murray was principally involved in the investigation of that complaint
Sergeant Chisern of the University of Chicago-would also have knowledge concerning plaintiffs
complaint using the name of Charles D’Angelo, and Investigator Salvatore of the Independent
Police Review may have knowledge of a conversation with the plaintiff in which he refused to
tell him about the incident and said “he had another way he was going to deal with this” or words

to that effect

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Ultimately, the complaints filed by Pl_aintiff under the name of Charles D’Angelo were
“urifounded"'because of his refusal to participate in the investigation Sergeant Murray’s efforts
to speak with the plaintiff are outlined in letters and in transcripts of phone calls that he made,
copies of which were produced by the defendants and Bates stamped numbers U-C0001-0_039_

- 6. State whether you sustained any physical injury during your interaction with
plaintiff on or about October _18,_ 2008. If yes, describe your injury. Additionally, if you received
any medical treatment of your injury state the date(s) of your treatment and identify the medical
provider(s). ` _

ANSWER: No I was not injured. l understand that Officer Gillespie was `_kicked in the

head during the incident and'liis glasses were broken. I also understand that Officer Galarza

' injured his shoulder and Officer Moore his wrist, but I do not know what treatment they
received

7. ‘ Please state and describe your understanding of the policies and customs which

goveni the writing of any kind`of log and/or report including, but not limited to, complaint

report, arrest report, search report, property report, supplemental report, or otherwise, (l) when

an individual is arrested for interfering with a public officer _ resisnng/obstructing{disanning an

officer and (2) when the custody of an arrestee is transferred to the City of Chicago Police

Department Included in this response, must be when a log, report, or other document is to be

written, on what type of form it is to be written, and what facts are to be put in such log, reports,
or other document

ANSWER: Objection. This interrogatory is vague and ambiguous in that it asks for
“policies or customs” governing the writing of reports, logs, etc. Over that objection and without
waiving same, my understanding_is that any report I write should be an accurate summary of an
event as best as l can recall it.. -_Because it is only a summary, it cannot include all of the facts and
may not incorporate facts that others deem important when reviewing an incident well after the
fact. I am not aware of anything specific as it relates to interfering with a police officer or
resisting or obstructing a police officer other than may report should be an accurate summary.
University of Chicago employees are permitted to detain individuals who commit crimes and we

turn any such person over to the Chicago Polioe who will then transport that person to a local

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police station and process that person, including taking booking photos, filling out arrest reports,
filing criminal complaints and seeking approval by the State’s Attomey working felony review
of felony charges. While University of Chicago employees write out our own reports, we do not
prepare criminal complaints and do not process an arrestee during the booking process.

8. Please state how long and in what capacity you have been employed by the
University of Chicago-Polioe Department Your response should include a brief description of
your change in assignments auditor rank if any, and when those changes occurred Your response

_ should also include whether you__were__concurrently employed _by the City of Chicago as a police -'
officer at any time during your employment with the University of Chicago Polioe Department '

ANSWER: -' On the date of the incident involving Charles Boyle, I`had been employed .;
by the University of Chicago for approximately five years and four _months. During this
timeframe there has been no change in rank and at no time while employed with the University "
of Chicago have I been employed concurrently with the City of Chicago as_ a police officer.

9. Please describe your assignment with the University of Chicago Polioe

Department on October 13, 2008. Your response should include the actual time you began and
ended your duties. ` _'

ANSWER: l)n October 18, 2008, l was working as an officer for the University of
Chicago during its midnight shift I was working an investigation in plain clothes on behalf of
the University. n

10'. State the case number, caption, and jurisdiction of all civil cases in which you

were named a defendant during the course of your employment with the University of Chicago
Polioe Department and/or the City of Chicago Police Department

ANSWER: ]_`-)ef`endantA objects to this Interrogatory in that it is overbroad, unduly
burdensome, harassing, and not designed to lead to the discovery of relevant or admissible
information in that it seeks information about all civil cases in which I was named a defendant
irrespective of whether a lawsuit was filed against me in a capacity other than as police officer.
Additionally, the Interrogatory is overbroad, unduly burdensome, and not designed to lead to the

discovery of relevant information since it does not seek information about other lawsuits that are

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substantially similar in nature, Subject to those objections and without waiving same, l have
never worked for the Chicago Police Department and I have never been previously sued in my
capacity as a University of Chicago Police officer.

ll. Identify all complaints (and the names of all complainants), including but not
limited to, complaints of false arrests, excessive use of force, unlawful search and/or seizure,
perjury, malicious prosecution, or general misconduct which have been lodged against you
during the course of your career with the University of Chicago Police Department Your
response should list each number, such as complaint register number, that has been assigned to

. __ _ea_e_h complaint indicate when each investigation was concluded, and state the nature of -
punishment, if any, received by the defendant as a result of the complaint ' "

ANSWER: Defendant objects to this Interrogatory in that it is overbroad, lunduly
burdensome,1 harassing, and not designed to lead to the discovery of relevant or admissible
information in that it seeks information about all civil cases in which I was named a defendant
irrespective of whether a lawsuit was filed against me in a capacity -_other than as police officer.
Additionally, the Interrogatory is overbroad, unduly burdensome,_ and not designed to lead to the
discovery of relevant information since it does not seek information about other lawsuits that are
substantially similar in nature. Subject to those objections and without waiving same, there have
been no sustained complaints against me during my career as a University of Chicago police
office.

12. ldentii`y all documents, notes, memoranda, or other writings, including internal

investigations statements, police reports, and inter-agency memos which you wrote which relate
or refer to the Plaintiff and!or the incident alleged in the Plaintiffs complaint

ANSWER: Any report, memo or other document which I prepared or wrote would
contain my signature at some place on the document My attorney has informed me that he has
produced documents to your attention Bates stamped numbers U/COO]-OO?Q. Please see those
documents for any that bear my signature

13. State whether you gave any statement, oral, written or tape recorded, signed or

unsigned to an investigator (intemal or otherwise) in connection with the incident alleged in the
complaint If yes, state the current location of each original statement

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ANSWER: I_did not make any such statement, other than speaking to my attorney and
my conversations with my attorney which are privileged from disclosure

14. State the name and current or last known address of each and every individual you
may call as a witness in the trial of this matter

ANSWER: Defendant objects to lnterrogatory No. 14 on the basis that it is premature
and seeks work product Subject to and without waiving same objection, this defendant states
this is unknown to me at this time. n

"l$. State whether you ever testified in any court proceeding relating to your

interactions with plaintiff on October 18,2008. Ifyes, state the date, courtroom, nature of court
proceeding, and case number(s) associated with said testimony _ .

_ ANswER______= No.
16. State whether you performed any duties of any kind as a University of Chicago

Police Officer on January 20,. 2009 andfor December 6, 2008 If yes, state the hours you
performed your duties, and the location(s) where these duties were performed

ANSWER: Defendant objects to lnterrogatory No. 16 in that he was never subpoenaed
to Court and, therefore, his duties as an OfEcer for the University of Chicago on January 20,
2009 and/or December 6, 2008 are irrelevant and immaterial Defendant also objects to this
Interrogatory as overbroad and harassing and seeks information not reasonably calculated to lead
to 'the discovery of admissible'evidence. '

17. State each and every fact that explains each affirmative defense set forth m your

answer to the complaint Identify all witnesses who support each affirmative defense, if any, and
state the subject matter of each witness’ knowledge

ANSWER: Objection. This Interr'ogatory calls for attorney work product Defendant
further objects to this Interrogatory as overbroad, and unduly burdensome and because it seeks
information outside of my personal knowledge and calls for a legal conclusion Defendant
further objects that it is unduly burdensome and harassing Subject to those objections and
without waiving same, see the information disclosed in the University of Chicago Def`endant’s

Rule 26(a)(1) Disclosures as well as information disclosed in connection with the University of

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Chicago Defen_dants’ Resporrse to Plaintiff"s Production Request and these Answers to
Interrogatories.
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Officer Michael l<.wiatkdws§i'_l

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